Exhibit B
                                                   DOCUMENT 2
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                                                                                            CV-2012-900047.00
                                                                                           CIRCUIT COURT OF
                                                                                       RANDOLPH COUNTY, ALABAMA
                                                                                           CHRIS MAY, CLERK
                      IN THE CIRCUIT COURT OF RANDOLPH COUNTY, ALABAMA

WELLS FARGO BANK, N.A. SUCCESSOR                  *
BY MERGER TO WACHOVIA BANK, N.A.                  *
F/K/A SOUTHTRUST BANK, N.A.,                      *
                                                  *
        Plaintiff,                                * CASE NO.
                                                  *
VS.                                               *
                                                  *
JEANETTA SPRINGER                                 *
JACOB SPRINGER,                                   *
                                                  *
        Defendants.

                                                  COMPLAINT

        COMES NOW the Plaintiff in the above-styled cause and represents unto this Honorable Court as follows:

        1. Plaintiff, Wells Fargo Bank, N.A. successor by merger to Wachovia Bank, N.A. f/k/a SouthTrust Bank,

N.A., is qualified to do business in Alabama and doing business in Randolph County, Alabama.

        2. Defendants, Jeanetta Springer and Jacob Springer, are over the age of 19 years and are resident citizens

of Randolph County, Alabama.

        3. Plaintiff avers that by virtue of foreclosure on October 19, 2011, of that certain Mortgage originally

between Warren Minnifield, Emma L. Minnifield, and Jeanetta Minnifield Stevens and SouthTrust Bank, National

Association, Wells Fargo Bank, N.A. successor by merger to Wachovia Bank, N.A. f/k/a SouthTrust Bank, N.A. is

the owner of the following-described real property located and situated in Randolph County, Alabama, to wit:

        Begin at an iron stake that marks the NE corner of Section 2, Township 22 South, Range 12 East, of the
        Huntsville Meridian and run S 2 degrees 30 minutes E along the section line between Sections 1 and 2 a
        distance of 197 feet to a stake on the Southerly side of a blacktop street known as South Street at the point
        of beginning; thence N 49 degrees 01 minutes W along the Southerly side of South Street a distance of
        455.6 feet to point of on the Easterly right of way line of Old Highway 431; thence S 11 degrees 33
        minutes W along said right of way line a distance of 400 feet to a point; thence N 87 degrees 30 minutes E
        a distance of 400 feet to a point; thence N 2 degrees 30 minutes W a distance of 16.5 feet to a point; thence
        N 87 degrees 30 minutes E a distance of 360 feet to the section line between Sections 1 and 2; thence North
        a distance of 63 feet to the point of beginning.

                                 Also known as 619 Lafayette Hwy, Roanoke, AL 36274

However in the event of a discrepancy between the legal description and street address, the legal description
shall control.
                                                  DOCUMENT 2




        A copy of the Foreclosure Deed is attached hereto, incorporated by reference and designated as Exhibit

“A”.

        4. Defendants, Jeanetta Springer and Jacob Springer, currently occupy the aforesaid real property made

the basis of this action.

        WHEREFORE, PREMISES CONSIDERED Plaintiff demands possession of the aforesaid real property,

together with money damages for the wrongful retention of said real property.




                                                        _/s/ Greggory M. Deitsch______________________
                                                        Greggory M. Deitsch (DEI001)
                                                        Attorney for Plaintiff
                                                        2311 Highland Avenue South
                                                        P.O. Box 55727
                                                        Birmingham, Alabama 35255
                                                        205.930.5225
                                                        Fax: 205.930.5101
                                                        E-Mail: gdeitsch@sirote.com

OF COUNSEL:
SIROTE & PERMUTT, P.C.

PLAINTIFF’S ADDRESS:
c/o Sirote & Permutt, P.C.


DEFENDANT’S ADDRESS:
Jeanetta Springer
Jacob Springer
619 Lafayette Hwy
Roanoke, AL 36274
        DOCUMENT 2

Probate office stated it is
recorded in Bk 355, Pg 516
DOCUMENT 2
DOCUMENT 2
                                          DOCUMENT 16
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                                                                            CIRCUIT COURT OF
                                                                        RANDOLPH COUNTY, ALABAMA
                                                                            CHRIS MAY, CLERK
              IN THE CIRCUIT COURT OF RANDOLPH COUNTY, ALABAMA



WELL FARGO BANK, N. A.                          )
SUCCESSOR BY MERGER TO                          )
WACHOVIA BANK, N. A. F/K/A                      ) CIVIL ACTION NO.: 12-900047
SOUTHTRUST BANK, N. A.,                         )
                                                )
     Plaintiff,                                 )
                                                )
v.                                              )
                                                )
JEANETTA SPRINGER                               )
JACOB SPRINGER,                                 )
                                                )
     Defendants.

                                           ANSWER

         COME NOW the Defendants JEANETTA SPRINGER and JACOB
SPRINGER (hereinafter “Springers” or “Defendants”) and file this, their Answer to
Plaintiff’s ejectment Complaint as follows:

         1.       Upon information and belief, Defendants admit that certain mergers,
acquisitions, transfer of assets and liabilities and/or other name changes occurred
involving the entities included within the name of the Plaintiff as styled for this action as
alleged within Paragraph One of the Complaint.

         2.       Defendants admit the allegations in Paragraph Two of Plaintiff’s
Complaint.


         3.       Defendants deny each and every allegation in Paragraph Three of Plaintiff’s
Complaint except the street address and demand strict proof thereof.


         4.       Defendants admit the allegations in Paragraph Four of Plaintiff’s
Complaint.
                                        DOCUMENT 16




       Defendants deny that Plaintiff is entitled to any of the relief it seeks through the
unnumbered Paragraph positioned immediately after Paragraph Four within the
Complaint.



                               AFFIRMATIVE DEFENSES


       5.      This Court lacks subject matter jurisdiction.

       6.      This Court lacks personal jurisdiction over the Defendants.

       7.      Venue is improper.

       8.      Defendants allege insufficiency of process.

       9.      Defendants allege insufficiency of the service of process

       10.     Plaintiff has failed to state any claim upon which relief can be granted.

       11.     Plaintiff was contributory negligent and thereby caused any damages it
claims to have suffered and therefore is totally barred from any recovery, including the
specific relief it seeks.


       12.     There exists no valid contract(s) between these Parties related to the
property at issue which give any rights of recovery to Plaintiff from Defendants.


       13.     In the event any valid contract between Plaintiff and Defendants is alleged
to have existed at any time; Plaintiff modified, abrogated, breached, terminated and/or
otherwise novated said contract(s) with Defendants thereby releasing, excusing and/or
relieving these Defendants from any performance thereon which could possibly have
caused damage to Plaintiff or entitle Plaintiff to the relief it seeks from the Springers.

       14.     Plaintiff failed to mitigate its damages.
                                         DOCUMENT 16




       15.    Plaintiff failed to offset its damages.

       16.    Plaintiff has failed to act in good faith and fair dealing with the Defendants.

       17.   Plaintiff has failed to add one or more indispensable Parties in this action
and the underlying foreclosure.

       18.    In the event that any loan agreement is proven to relate to the subject
property and to these Defendants, the Defendants rely upon and reserve any and all
defenses available to them under the Truth in Lending Act; The Equal Credit Opportunity
Act; The Fair Credit Reporting act; The Real Estate Settlement Practices Act; Civil
RICO; through The Federal Deposit Insurance Corporation; and/or any other federal or
state rules, regulations, guidelines and/or other industry, state or federal Best Practices
and standard of care.


       19.    Plaintiff lacks clean hands in the various transactions that led to the subject
foreclosure and, thus, is not entitled to recover from the Defendants.


       20.    Defendants plead the defense of estoppel.

       21.    Defendants plead the defense of Failure of Consideration.

       22.    Defendants plead the defense of Waiver.

       23.    Defendants plead the defense of Statute of Limitations.

       24.    Defendants plead the defense of laches.

       25.    Defendants assert the foreclosure notices and sale were defective and the
sale is therefore due to be set aside.
                                       DOCUMENT 16




       26.     Defendants plead that the loan and property made the subject of the
underlying foreclosure and of this ejectment action is inaccurate; improper; fraudulent;
illegal; void; voidable; and unenforceable.
       27.     Defendants plead that Plaintiff improperly misapplied and misappropriated
loan payments engineering the alleged default and resulting in a wrongful foreclosure.


       28.     Defendants allege that the foreclosure sale upon which the Complaint is
based was wrongful and is due to be rescinded or otherwise set aside. Upon the proper
rescission of the foreclosure sale, Plaintiff’s ejectment Complaint should be dismissed.


       29.     Defendants deny that at the time of the foreclosure sale there was a
legitimate and/or accurately stated default.


       30.     Plaintiff and/or its agents failed to consummate the non-judicial foreclosure
sale by and through the rightful and real party in interest. Therefore, the foreclosure sale
is due to be set aside.

       28.     Defendants allege that the acceleration of the subject debt was improper
and in violation of the parties’ contract, if any contract existed at all.

       29.    Defendants allege that Plaintiff and/or its agents lacked standing to
consummate the underlying foreclosure sale upon which this action is based. As a non-
judicial foreclosure sale, Plaintiff and/or its agent was not required to demonstrate to
court or jury its ownership rights in the mortgage and note or its right to receive the
proceeds of the Note. Defendants deny that Plaintiff is currently the rightful owner of
one or more of these rights and demands strict proof thereof at this time.

       30.    Defendants allege that Plaintiff and Plaintiff’s agent lacked any possessory,
beneficial, or ownership interest in the subject note, which had as its security the
mortgage subject to the underlying foreclosure sale. As such, Plaintiff’s agent was an
improper party and without legal authority to conduct the alleged sale of the subject
property and said sale was void, voidable, illegal, and is due to be set aside.

       31.   Defendants allege that Plaintiff and its agents and/or assigns, assignors,
assignees, employees, contractors, and brokers lacked clean hands throughout the
                                        DOCUMENT 16




origination, servicing, loss mitigation, and foreclosure of the subject loan and, as such, is
not entitled to the relief sought.

        32.    Plaintiff and/or its agents caused any alleged default by its own negligent,
wanton, deceptive, errors and/or predatory conduct such that the underlying foreclosure
sale is due to be set aside and rescinded.

       33.    Defendants plead that Plaintiff seeks to be unjustly enriched.

        34.    Defendants allege that they are Third-Party Beneficiaries of certain
contracts that were breached by the Plaintiff and one or more of its agents and/or assigns,
assignors, assignees, employees, servicers, contractors and/or brokers. As a result of
their breach, Plaintiff is not entitled to the relief it seeks.

        35.    Defendants allege that they were fraudulently induced to enter the alleged
contracts; to give excess and/or inaccurate consideration for which Plaintiff has willfully
failed to credit to the subject account. As a result of its wrongful conduct, Plaintiff is not
entitled to the relief it seeks.



       36.    Defendants made significant efforts with Plaintiff to resolve or substantially
narrow the issues involved in this complex action prior to the filing of this pleading.
Therefore, Defendants respectfully reserve the right to amend and/or supplement these
defenses; file a subsequent counterclaim(s) and/or file a 3rd- Party Complaint.
Defendants further request and reserve the right to present evidence of their efforts at
early resolution or narrowing of the issues at the appropriate time should an objection to
any such pleading be made to this Honorable Court on the discretionary grounds of
whether such a counterclaim or other pleading should be considered permissive or
compulsory.


Done this the 29th day of July, 2012.


                                                  Respectfully Submitted,


                                                  /s/ Robert E. Kirby, Jr.
                                                  Robert E. Kirby, Jr. (KIR013)
                                     DOCUMENT 16




OF COUNSEL:
The Kirby Law Firm
615 1st St. N
Alabaster, AL 35007
205-386-2005
205-358-3550 Fax
bkirby@bkirbylaw.com
erin@bkirbylaw.com
alicia@bkirbylaw.com


             DEFENDANTS DEMAND A TRIAL BY STRUCK JURY

                                               /s/ Robert E. Kirby, Jr.
                                               Robert E. Kirby, Jr. (KIR013)




                            CERTIFICATE OF SERVICE

       I hereby certify that on this the 29th day of July, 2012, I have served a true and
correct copy of the foregoing by Alafile.com to all parties of record.

Gregory M. Deitsch
Josh Hornady
SIROTE & PERMUTT
2311 Highland Ave South
Birmingham, Alabama 35255
(Counsel for Plaintiff)
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                                                                                        CIRCUIT COURT OF
                                                                                    RANDOLPH COUNTY, ALABAMA
                                                                                        CHRIS MAY, CLERK
           IN THE CIRCUIT COURT OF RANDOLPH COUNTY, ALABAMA

WELLS FARGO BANK, N.A.                                   *
SUCCESSOR BY MERGER TO                                   *
WACHOVIA BANK, N.A. F/K/A                                *
SOUTHTRUST BANK, N.A.,                                   *
                                                         * CASE NO. CV-2012-900047
           Plaintiff,                                    *
                                                         *
VS.                                                      *
                                                         *
JEANETTA SPRINGER                                        *
JACOB SPRINGER,                                          *
                                                         *
           Defendants.                                   *

                            MOTION FOR SUMMARY JUDGMENT

           Plaintiff, Wells Fargo Bank, N.A., successor by merger to Wachovia Bank, N.A.

F/K/A Southtrust Bank, N.A., (hereinafter “Wells Fargo”) respectfully moves this Court,

pursuant to Rule 56 of the Alabama Rules of Civil Procedure, to enter Summary

Judgment in the Plaintiff’s favor for the relief demanded in its Complaint, on the grounds

that there is no genuine issue as to any material fact and that the Plaintiff is entitled to a

judgment as a matter of law.

           This Motion is based upon the Complaint filed by the Plaintiff herein,

Defendant’s Answer, and the Affidavit of Amanda Maxwell, an authorized representative

of Wells Fargo Bank, N.A. along with attached exhibits 1. For the foregoing reasons,

Plaintiff is entitled to summary judgment in its favor

                             SUMMARY OF UNDISPUTED FACTS

           1.      On August 10, 1998, Warren Minnifield, entered into and executed that

certain Note, in favor of SouthTrust Bank, NA (hereinafter “SouthTrust”). A true and

correct copy of the Note is attached as “Exhibit A.”
1
    These documents have previously been produced to Defendant through discovery in this case.
                                                     1

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       2.      On August 10, 1998, Warren Minnifield, and Wife, Emma L. Minnifield

and Jeanetta Minnifield Stevens, entered into and executed that certain Mortgage,

securing the Note, in favor of SouthTrust, and its successors and assigns, in the amount of

$89,786.70. A true and correct copy of the recorded Mortgage is attached as “Exhibit B.”

       3.      On July 12, 2006, Wachovia Bank NA, F/K/A SouthTrust Bank, NA, sent

borrowers, via the address provided for in the Mortgage, a notice of intent to foreclosure.

Such notices provided borrowers a full itemization of the total payment due to reinstate

and cure their default. A true and correct copy of the Notice is attached as “Exhibit C.”

       4.      On April 12, 2010, Wells Fargo Bank, NA, successor by merger to

Wachovia Bank, NA F/K/A SouthTrust Bank, NA, sent borrowers, by certified and

regular mail, via the address provided for in the Mortgage, a notice of right to cure

default. Such notices provided borrowers a full itemization of the total payment due to

cure their default. A true and correct copy of the Notice is attached as “Exhibit D.”

       5.      On July 26, 2010, Wells Fargo Bank, NA sent borrower via the address

provided for in the Mortgage, a notice of right to cure default. Such notices provided

borrowers a full itemization of the total payment due to cure their default and a date

certain to cure the default. A true and correct copy of the Notice is attached as “Exhibit

E.”

       6.      After borrowers failed to cure the default, on October 19, 2010, the

borrowers were sent a Notice of Acceleration. A true and correct copy of the October 19,

2010, Notice of Acceleration is attached as “Exhibit F.”

       7.      On or about October 23, 2010, or immediately thereafter, foreclosure was

placed on hold to investigate and properly respond to the inquires and issues raised in T.


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Jeanetta Minnifield Stevens letter to Ginny Rutledge at the law firm of Sirote & Permutt,

P.C.

       8.       The foreclosure on borrowers’ property at address 619 Lafayette Hwy,

Roanoke, Alabama 36274, was on hold until May 4, 2011 when an investigation and

letter with a response was provided to T. Jeanetta Minnifield Stevens. A true and correct

copy of the May 4, 2011 correspondence is attached as “Exhibit G.”

       9.      After borrowers failed to cure the default, on May 10, 2011, the borrowers

were sent a second Notice of Acceleration. A true and correct copy of the May 10, 2011,

Notice of Acceleration is attached as “Exhibit H.”

       10.     On September 21, 2011, borrower was notified through counsel that the

foreclosure sale scheduled for September 21, 2011 was being postponed until October 19,

2011. A true and correct copy of the September 21, 2011, postponement notice is

attached as “Exhibit I.”

       11.     A notice of foreclosure was published on May 18, May 25, and June 1,

2011 in The Randolph Leader, a newspaper of general circulation, printed and published

in Randolph County, Alabama.       A copy of the Publication Affidavit is attached as

“Exhibit J.”

       12.     Due to borrower’s default on their Mortgage, the Mortgage was foreclosed

through a valid foreclosure sale on October 19, 2011. A true and correct copy of the

October 19, 2011 Foreclosure Deed is attached as “Exhibit K.”

       13.     By virtue of foreclosure on October 19, 2011, of that certain Mortgage

originally between Warren Minnifield, Emma L. Minnifield, and Jeanetta Minnifield

Stevens and SouthTrust Bank, National Association, Wells Fargo Bank, N.A. successor


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by merger to Wachovia Bank, N.A. f/k/a SouthTrust Bank, N.A. is the owner of the

following-described real property located and situated in Randolph County, Alabama, to

wit:


       Begin at an iron stake that marks the NE corner of Section 2, Township 22 South, Range
       12 East, of the Huntsville Meridian and run S 2 degrees 30 minutes E along the section
       line between Sections 1 and 2 a distance of 197 feet to a stake on the Southerly side of a
       blacktop street known as South Street at the point of beginning; thence N 49 degrees 01
       minutes W along the Southerly side of South Street a distance of 455.6 feet to point of on
       the Easterly right of way line of Old Highway 431; thence S 11 degrees 33 minutes W
       along said right of way line a distance of 400 feet to a point; thence N 87 degrees 30
       minutes E a distance of 400 feet to a point; thence N 2 degrees 30 minutes W a distance
       of 16.5 feet to a point; thence N 87 degrees 30 minutes E a distance of 360 feet to the
       section line between Sections 1 and 2; thence North a distance of 63 feet to the point of
       beginning.

       Also known as 619 Lafayette Hwy, Roanoke, AL 36274

However in the event of a discrepancy between the legal description and street address, the
legal description shall control.

       14.     On October 20, 2011, a demand for possession of the property was sent to

borrowers at the property address set forth in the Mortgage. A true and correct copy of

the October 20, 2011, demand for possession letter is attached as “Exhibit L.”

       15.     Defendants, Jeanetta Springer and Jacob Springer, currently occupy the

aforesaid real property made the basis of this action.

       16.     Neither Jeanetta Springer nor Jacob Springer, the only Defendants in this

action, are on or have executed the Promissory Note on the property at issue in this

ejectment action. Jacob Springer is neither an obligor under the Promissory Note or a

Mortgagor on the Mortgage at issue.

                                STANDARD OF REVIEW

       Summary judgment is proper under Ala. R. Civ. P. 56(c) “if the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the

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affidavits, if any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to judgment as a matter of law.” If the movant makes a prima

facie showing that no genuine issue of material fact exists, then the burden shifts to the

non-movant to rebut that prima facie showing by presenting substantial evidence of a

genuine issue of material fact. See General Motors, 769 So. 2d at 908-09; see also Burks

v. Pickwick Hotel, 607 So.2d 187 (Ala. 1992).

       The burden then shifts to Defendants to present “substantial evidence” of a

genuine issue of material fact. Defendants cannot satisfy this burden by making

conclusory, unsupported arguments. See Ala. R. Civ. P. 56(c). As proven herein,

summary judgment is proper as Wells Fargo has demonstrated it is entitled to summary

judgment as a matter of law in its favor and against Defendants.

                             ARGUMENT AND AUTHORITIES

      I.     Wells Fargo Is Entitled To Judgment As A Matter of Law Because It
Has Established A Superior Claim To Possession Of The Property.

       Wells Fargo is entitled to bring the current action in ejectment against the

Defendants because the facts above, the affidavit of Amanda Maxwell, and exhibits

attached thereto, as well as the undisputed Foreclosure Deed, clearly substantiates that

Wells Fargo possesses superior legal title to the property and that the Defendants are

wrongfully occupying the same. See Ala. Code § 6-6-280 (1975); Jones v. Regions Bank,

25 So. 3d 427, 440 (Ala. 2009); Muller v. Seeds, 919 So. 2d 1174, 1177 (Ala. 2005);

Mid-State Homes, Inc. v. Brown, 355 So. 2d 332, 333 (Ala. 1978); Atlas Subsidiaries of

Fla., Inc. v. Kornegay, 264 So. 2d 158, 161 (Ala. 1972). The Alabama Supreme Court, in

Kornegay noted as follows:



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        “[i]n a statutory action in the nature of ejectment a plaintiff may recover
        by showing legal title to the premises sued for at the time of the
        commencement of the suit and the right to immediate possession.”

Kornegay, 264 So. 2d at 161.

        By virtue of the foreclosure deed (Exh. K), this proves Ocwen Loan Servicing,

successor in interest to GMAC Mortgage, LLC, possesses superior legal title to the

property and is entitled to immediate possession. See Muller, 919 So. 2d at 1177 (“Muller

purchased the property at the foreclosure sale; thus legal title . . . vested in him, and he

was entitled to take immediate possession.”) (Ala. Code § 35-10-12 (1975)) (emphasis

added); see also Palmer v. Resolution Trust Corp., 613 So. 2d 373, 375 (Ala. 1993)

(“However, the RTC, as holder of the foreclosure deed, has full legal title, subject only to

the right of redemption, . . . and has a right to immediate possession of the property.”)

(citations omitted and emphasis added); Ward v. Chambless, 189 So. 890, 893 (Ala.

1939) (“Ordinarily when a mortgage is foreclosed on real estate, the purchaser at the

foreclosure sale acquires the full legal and equitable title to the mortgaged premises,

subject only to the statutory right of redemption. . . .”).

        A copy of the Foreclosure Deed has been submitted into evidence by Wells Fargo

on numerous occasions without any dispute from Defendants, now the burden shifts to

the Defendant to offer substantial evidence of an affirmative defense to the ejectment

case. See Steele v. Federal Nat’l Mortg. Ass’n, No. 1091441, 2010 WL 4910829 at *4

(Ala. Dec. 3, 2010); Berry v. Deutsche Bank Nat’l Trust Co., No. 2080840, 2010 WL

3377712 at *7-8 (Ala. Civ. App. Aug. 27, 2010); Ala. Code § 12-21-12(a). Defendants

cannot meet their burden.




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       II.    Defendants Cannot Overcome The Fact That Wells Fargo Properly
Exercised the Power of Sale

       Defendants cannot challenge through presenting any substantial evidence to the

contrary that Wells Fargo Bank, N.A. had the power and authority to conduct the

underlying foreclosure on this property. As the evidence shows, on August 10, 1998,

Warren Minnifield, entered into and executed that certain Note, in favor of SouthTrust

Bank, N.A. It is well known that Wachovia Bank, N.A. acquired Southtrust Bank, N.A.

in or about January 2005. On or about March 20, 2010, Wachovia Bank, N.A., formerly

known as Southtrust Bank, N.A., was acquired by Wells Fargo Bank, N.A. Wells Fargo

did not accelerate on the Note or Mortgage until October 19, 2010 and then again on May

10, 2011 (Exhibits F & G), nor did it publish the foreclosure sale until May 18, May 25,

and June 1, 2011 (Exhibit J) and did not foreclose until October 19, 2011 (Exhibit K).

       As the evidence shows, Wells Fargo had been entitled to the money secured

before it ever initiated foreclosure proceedings through a Notice of Acceleration or

Publication of Sale. See Maxwell Aff. at Exhibits F, G, and J. According to the Alabama

Court of Civil Appeals in Sturdivant v. BAC Home Loans Servicing, LP, [Ms. 2100245,

Dec. 16, 2011] 2011 WL 6275697, __ So.3d__, (Ala. Civ. App. 2011) and Patterson v.

GMAC Mortgage, LLC, [Ms. 2100490, Jan. 20, 2012], ___ So.3d ___, 2012 WL 165067

(Ala. Civ. App. 2012), an entity that has been assigned the subject mortgage is an

appropriate entity to commence foreclosure proceedings, and a foreclosure conducted by

such a foreclosing entity is valid. Sturdivant at *9; Patterson at *2. As such, because

Wells Fargo had the authority to foreclose, any possible defense from Defendants,

through counsel, that Wells Fargo did not have the right to foreclose on the subject

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property or that the foreclosure sale was void or that Wells Fargo did not have the right to

initiate this ejectment action under Ala. Code. 1975 §6-6-280 is to be rejected and cannot

be supported by any substantial evidence.

       III.   Wells Fargo is entitled to judgment as a matter of law because it is the
holder of the Note.

       Wells Fargo is the holder of the Note and has been since acquiring Wachovia

Bank, N.A. formerly known as Southtrust Bank, N.A. See Exh. A. It is black letter law

that the holder of a negotiable instrument is entitled to enforce the terms of the

instrument. In Alabama, a “negotiable instrument” is defined as follows:

       an unconditional promise or order to pay a fixed amount of money, with or
       without interest or other charges described in the promise or order, if it:

       (1)     Is payable to bearer or to order at the time it is issued or first
               comes into possession of a holder;
       (2)     Is payable on demand or at a definite time; and
       (3)     Does not state any other undertaking or instruction by the person
               promising or ordering payment to do any act in addition to the
               payment of money, but the promise or order may contain (i) an
               undertaking or power to give, maintain, or protect collateral to
               secure payment, (ii) an authorization or power to the holder to
               confess judgment or realize on or dispose of collateral, or (iii) a
               waiver of the benefit of any law intended for the advantage or
               protection of an obligor.

Ala. Code § 7-3-104 (1975). It is clear that the Note is a negotiable instrument as defined

under Alabama law. The Note in this case is an unconditional promise by Warren

Minnifield to pay a total of $193,701.11 to Southtrust Bank, N.A., its successors and

assigns, with the total amount of the Note due on August 10, 2013.            See Exh. A.

Therefore, a person in possession of the Note is entitled to enforce its provisions. See

Ala. Code § 7-3-301 (the holder of an instrument is entitled to enforce the instrument); §

7-1-201(21)(A) (defining “holder” of a specially endorsed instrument as a person in


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possession of an instrument that is payable to an identified person in possession); § 7-3-

205 (an instrument specially endorsed is payable to the identified person).

        Because Wells Fargo is the holder of the Note, then the Note is payable to Wells

Fargo and Wells Fargo may enforce the provisions of the Note. See id. § 7-3-301. Wells

Fargo, as the holder of the Note, is entitled to “the money thus secured” by the Mortgage,

and, consequently, Wells Fargo was entitled to foreclose the Mortgage in accordance

with Alabama law. See id.; § 35-10-12. Here, it is undisputed and will remain undisputed

that Wells Fargo Bank, N.A. is a successor to Wachovia Bank, N.A. formerly known as

Southtrust Bank, N.A. It will also remain undisputed that Wells Fargo came into

possession of the Note long before initiating foreclosure against the Defendants.

                                     CONCLUSION

        WHEREFORE,          PREMISES     CONSIDERED,        Wells   Fargo     Bank,   N.A.,

respectfully requests that this Court enter an Order granting summary judgment as

follows:

        A.      That judgment is entered in favor of the Plaintiff and against the

Defendants;

        B.      That immediate possession of the real property set forth above and as set

forth in Plaintiff’s Complaint be hereby awarded to Wells Fargo Bank, N.A. and that any

lawful sheriff of the County of Randolph, Alabama be ordered to restore possession of

the real property to Plaintiff;

        C.      That due to the failure of the Defendants to deliver possession after being

given ten (10) days written notice by Plaintiff, Defendants have forfeited any right of

redemption pursuant to Ala. Code § 6-5-251 (1975); and

        D.      That costs be hereby taxed against Defendants.
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                                              Respectfully submitted,

                                              /s/ Jacob A. Kiser
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                             CERTIFICATE OF SERVICE

        I hereby certify that on June 10, 2013, I electronically filed the foregoing with the
Clerk of the Court using the Alafile system which will send notification of such filing to
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